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 7                         IN THE UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA
 9
           Delaware Life Insurance Company,
10                                                         Case No. 2:24-CV-00666-ART-EJY
                                 Plaintiff,
11                                                         ORDER
           v.
12
           Andrew John Glendon, individually and
13         as Successor Trustee of the Glendon
           1989 Trust, as amended and restated;
14         and Russell Bradley Glendon,

15                        Defendants.

16           Upon stipulated motion of the parties (ECF No. 7), and good cause appearing,
17           IT IS HEREBY ORDERED that Delaware Life Insurance Company (“DLIC”) shall
18    maintain the Annuity Contract in force until such time either a) Andrew and Russell jointly
19    agree to the disposition of the Annuity Contract in writing to DLIC, or b) DLIC is presented

20    a final court order dictating the disposition of the Annuity Contract.

21           IT IS FURTHER ORDERED that DLIC and its agents shall be discharged from any
      and all further liability to any person or entity relating to or arising from the Annuity
22
      Contract pursuant to Rule 22, Fed. R. Civ. P. and 28 U.S.C. §§ 1335 and 2361.
23
             IT IS FURTHER ORDERED that DLIC is awarded attorneys’ fees and costs
24
      incurred to date from the Annuity Contract proceeds in the amount of $4,405.00, which
25
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 1
      DLIC shall withdraw the fees and costs award from the Annuity Contract, without penalty.
 2
      The remaining parties shall bear their own costs and attorneys' fees with respect to this
 3    action.
 4              IT IS FURTHER ORDERED that this is action is dismissed with prejudice.
 5

 6                                                           _______________________
 7                                                           Anne R. Traum
                                                             United States District Judge
 8
                                                             DATED: June 26, 2024
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